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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlVlSlON

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-v~ 2:04cR20187-01-Ml `*~f’-D U”' 1111 t»f.'-Ei.»:'vis:é

JAMES CRENSHAW

Eugene Laurenzi, CJA
Defense Attorney

50 North Main Street, #800
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lVlarch 21 , 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section MM Offense Number(s)
Conc|uded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 09/25!2002 1

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lVlandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 05/24/1981 June 14, 2005
Deft’s U.S. lVlarshal No.: 19680-076

Defendant’s Nlailing Address:
2752 Henley Drive
Nlemphis, TN 38114

AQWM

JoN PH|PF`>s l\`nccALLA
uNlT sTATEs DlsTRlcT JquE

June jj ,2005

Thls document entered on the docket sheet in compliance
Wlth Flu|e 55 and/or 32(b) FFlCrP on . _ -' "

 

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Case No: 2:04CR20187-01-N|| Defendant Name: James CRENSHAW Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 115 months (or 9 years and 7 months).

The Court recommends to the Bureau of Prisons: the defendant be promptly
designated to another facility within the Bureau of Prisons.

The defendant is remanded to the custody of the United States lVlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 2:04CR20187-01-M| Defendant Name: James CRENSHAW Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft"lcer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case No: 2:O4CR20187-01-M| Defendant Name: James CRENSHAW

11.

12.

13.

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Page 4 of 4
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; 7

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such

notification requirement

|f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set

forth in the Criminal lVlonetary Penatties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

.U":P*F~°

The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Officer.

The defendant shall submit to mental health testing and mental health treatment programs

as directed bythe Probation Officer.

The defendant shall obtain his General Equivalency Dip|oma (G.E.D.)

The defendant shall seek and maintain full-time employment

The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|MINAL MONETARY PENALTfES

The defendant shall pay the following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUTION
No Restitution was ordered.

   

UNITED sTATE DRISTIC COURT - W'"ERNT DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CR-20187 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

i\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

